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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )       Criminal No. 1:22-cr-00200-APM
                      v.                         )
                                                 )
 PETER K. NAVARRO,                               )
                                                 )
                 Defendant.                      )
                                                 )

                   NOTICE REGARDING WAIVER OF APPEARANCE

       Dr. Peter K. Navarro, through counsel, hereby gives notice that he waives his appearance

for the August 11, 2023, scheduling hearing.



Dated: August 10, 2023                         Respectfully Submitted,


                                               __/s/ Stanley E. Woodward ______
                                               Stan M. Brand (D.C. Bar No. 213082)
                                               Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
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                                               Counsel to Dr. Peter K. Navarro
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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 10, 2023, a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.

                                                Respectfully submitted,


                                                __/s/ Stanley E. Woodward ______
                                                Stan M. Brand (D.C. Bar No. 213082)
                                                Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
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